Case 5:17-cv-01724-PA-AFM Document 1 Filed 08/24/17 Page 1 of 9 Page ID #:1



  1   LAKESHORE LAW CENTER
  2   Jeffrey Wilens, Esq. (State Bar No. 120371)
      18340 Yorba Linda Blvd., Suite 107-610
  3   Yorba Linda, CA 92886
  4   714-854-7205
      714-854-7206 (fax)
  5   jeff@lakeshorelaw.org
  6
      THE SPENCER LAW FIRM
  7   Jeffrey P. Spencer, Esq. (State Bar No. 182440)
  8   903 Calle Amanecer, Suite 220
      San Clemente, CA 92673
  9   949-240-8595
 10   949-240-8515 (fax)
      jps@spencerlaw.net
 11
 12   Attorneys for Plaintiff
 13                   UNITED STATES DISTRICT COURT,
 14     CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
 15   JAMES E. ANDREWS on behalf ) Case No.
 16   of himself and all persons )
      similarly situated,        )
 17
                                 )
 18                Plaintiff,    )
                                 ) Class Action
 19
                   v.            )
 20                              ) COMPLAINT FOR
      SIRIUS XM RADIO, INC.,     ) 1. Violation of the Driver Privacy
 21
      and Does 1 through 100     ) Protection Act (18 USC § 2721 et. seq.)
 22   inclusive,                 )
                                 )
 23
                   Defendants.   )
 24
 25   TO EACH PARTY AND THEIR ATTORNEY OF RECORD:

 26                                  PARTIES
 27
      1. Plaintiff JAMES E. ANDREWS, an individual, brings this action on
 28
                                          1
                                      COMPLAINT
Case 5:17-cv-01724-PA-AFM Document 1 Filed 08/24/17 Page 2 of 9 Page ID #:2



  1     behalf of himself, and on behalf of a class of similarly situated persons
  2
        pursuant to Rule 23. Plaintiff is a resident of the State of California and
  3
  4     a competent adult.

  5   2. Plaintiff is informed and believes, and thereupon alleges, that Defendant
  6
        SIRIUS XM RADIO, INC. is now, and at all times mentioned in this
  7
  8     Complaint was, a corporation based in New York, New York and doing
  9     business in the County of Orange, State of California, and throughout
 10
        the State of California and United States. Defendant has not designated
 11
 12     a principal place of business in the State of California.
 13   3. Plaintiff does not know the true names or capacities of the Defendants
 14
        sued herein as DOES 1 through 100 inclusive, and therefore sues these
 15
 16     Defendants by such fictitious names. Plaintiff will amend this complaint
 17
        to allege their true names and capacities when ascertained. Plaintiff is
 18
        informed and believes, and thereon alleges, that each of these fictitiously
 19
 20     named Defendants is responsible in some manner for the occurrences
 21
        herein alleged, and that Plaintiff’s damages as herein alleged were
 22
        proximately caused by those defendants. Each reference in this
 23
 24     complaint to “Defendant” or “Defendants” or to a specifically named
 25
        defendant refers also to all defendants sued under fictitious names.
 26
 27
      4. Plaintiff is informed and believes, and thereon alleges, that at all times

 28
                                            2
                                        COMPLAINT
Case 5:17-cv-01724-PA-AFM Document 1 Filed 08/24/17 Page 3 of 9 Page ID #:3



  1     herein mentioned each of the Defendants, including all Defendants sued
  2
        under fictitious names, and each of the persons who are not parties to
  3
  4     this action but are identified by name or otherwise throughout this

  5     complaint, was the alter ego of each of the remaining defendants, was
  6
        the successor in interest or predecessor in interest, and was the agent
  7
  8     and employee of each of the remaining defendants and in doing the
  9     things herein alleged was acting within the course and scope of this
 10
        agency and employment.
 11
 12                            CLASS ALLEGATIONS
 13   5. Plaintiff is a member of a class of persons, the members of which are
 14
        similarly situated to each other member of that class. The Class is
 15
 16     defined as follows:
 17
                   All United States residents who were sent letters by
 18                Defendant using “personal information” obtained
                   from motor vehicle records within the meaning of
 19
                   18 USC § 2725 during the past four years.
 20
      6. Plaintiff is informed and believes, and thereupon alleges, that the Main
 21
 22     Class Plaintiff represents includes at least 500 persons who were sent
 23
        letters by Defendant using personal information from motor vehicle
 24
        records.
 25
 26   7. The identity of the members of the classes is ascertainable from
 27
        Defendant’s own business records or those of its agents.
 28
                                            3
                                        COMPLAINT
Case 5:17-cv-01724-PA-AFM Document 1 Filed 08/24/17 Page 4 of 9 Page ID #:4



  1   8. The Plaintiff and Class Members’ claims against Defendant involve
  2
         questions of law or fact common to the Main Class in that they received
  3
  4      letters from Defendant which were sent using personal information

  5      obtained from motor vehicle records, and Defendant had no permissible
  6
         purpose for using the personal information.
  7
  8   9. The claims of Plaintiff are typical of the claims of the members of the
  9      Class.
 10
      10.    Plaintiff can fairly and adequately represent the interests of the Class.
 11
 12     FIRST CAUSE OF ACTION FOR VIOLATION OF THE DRIVER
 13         PRIVACY PROTECTION ACT AGAINST ALL DEFENDANTS
 14
            (BROUGHT AS INDIVIDUAL ACTION AND CLASS ACTION)
 15
 16   11. Plaintiff incorporates in this cause of action the allegations contained in
 17
         paragraphs 1 through 10, inclusive.
 18
      12.The Driver Privacy Protection Act, 18 U.S. Code § 2721 et. seq., prohibits
 19
 20      persons from using “personal information” obtained from a “motor
 21
         vehicle record” for any use not permitted under 18 USC § 2721 (b).
 22
      13. 18 USC § 2725 (3) defines “personal information” as “information that
 23
 24      identifies an individual, including an individual’s photograph, social
 25
         security number, driver identification number, name, address (but not
 26
 27
         the 5-digit zip code), telephone number, and medical or disability

 28
                                              4
                                         COMPLAINT
Case 5:17-cv-01724-PA-AFM Document 1 Filed 08/24/17 Page 5 of 9 Page ID #:5



  1     information, but does not include information on vehicular accidents,
  2
        driving violations, and driver’s status.”
  3
  4   14.18 USC § 2725 (1) defines a “motor vehicle record” as “any record that

  5     pertains to a motor vehicle operator’s permit, motor vehicle title, motor
  6
        vehicle registration, or identification card issued by a department of
  7
  8     motor vehicles.”
  9   15. During the class period, Defendant knowingly obtained and used
 10
        personal information obtained from motor vehicle records to solicit car
 11
 12     owners to sign up for Sirius XM radio services.          This is not a use
 13     permitted under 18 USC § 2721 (b).
 14
      16.On January 15, 2017, Plaintiff purchased a 2012 Chevy Equinox from
 15
 16     Auto Source in Banning. The prior owner did not have the same name
 17
        as Plaintiff and did not use Plaintiff’s residential or mailing address.
 18
      17. Apparently, the previous owner had a lapsed Sirius XM radio account.
 19
 20     However, Plaintiff has never had a Sirius XM radio account.
 21
      18.   Between January 16, 2017 and August 2017, Defendant mailed eight
 22
        notices to Plaintiff similar to the one attached as Exhibit A. The letters
 23
 24     were not dated but they sometimes referenced future “trial periods” that
 25
        would be available. The letters referenced the previous owner’s Sirius
 26
 27
        XM account number and listed the radio ID number. However, they

 28
                                            5
                                        COMPLAINT
Case 5:17-cv-01724-PA-AFM Document 1 Filed 08/24/17 Page 6 of 9 Page ID #:6



  1     were addressed to Plaintiff (not the previous owner) and mailed to
  2
        Plaintiff’s address (and not the previous owner’s address).
  3
  4   19.Plaintiff is informed and believes and thereupon alleges that Defendant

  5     can track changes of ownership of vehicles that contain previously
  6
        activated Sirius XM radios and, in the case of such transfers, Defendant
  7
  8     routinely acquires motor vehicle records that identify the new owner and
  9     his or her address and phone numbers.             Defendant then mails
 10
        advertisements such as Exhibit A to the new owners.
 11
 12   20.   On February 3, 2017, Defendant also called Plaintiff’s cellular
 13     telephone number and attempted to convince him to sign up for a Sirius
 14
        XM account.
 15
 16   21.Defendant obtained Plaintiff’s name and address, as well as his phone
 17
        number, from the motor vehicle records, most likely the registration
 18
        documents submitted to the DMV after he purchased the car.
 19
 20   22.   When Plaintiff purchased the vehicle at the dealership, he used his
 21
        residence address but not his PO Box. However, when Plaintiff filled out
 22
        the registration forms for the vehicle he used the PO Box as well.
 23
 24   23.   Plaintiff was injured when Defendant obtained and used his personal
 25
        information without his consent and in violation of law.
 26
 27
      24.   Similarly, Defendant used personal information from motor vehicle

 28
                                           6
                                       COMPLAINT
Case 5:17-cv-01724-PA-AFM Document 1 Filed 08/24/17 Page 7 of 9 Page ID #:7



  1     records to mail similar letters and make similar phone calls to the class
  2
        members.
  3
  4   25.   As a proximate result of Defendant’s violation of the DPPA, pursuant

  5     to 18 USC § 2724, Plaintiff and each class member is entitled to recover
  6
        actual damages, but not less than liquidated damages in the amount of
  7
  8     $2,500.
  9   26.   In addition, because Defendant’s violations were willful and
 10
        committed with a reckless disregard of the law, Plaintiff and the Class
 11
 12     are entitled to recover punitive damages.
 13   27.   Finally, inasmuch as Defendant continues to illegally obtain and use
 14
        personal information from motor vehicle records to solicit car owners,
 15
 16     the Court should enter an injunction prohibiting such conduct.
 17
                           REQUEST FOR JURY TRIAL
 18
        WHEREFORE, Plaintiff requests trial by jury.
 19
 20                           PRAYER FOR RELIEF
 21
        WHEREFORE, Plaintiff prays for judgment on all causes of action
 22
      against Defendant as follows:
 23
 24   1. For an order certifying the claims of the Class pursuant to Rule 23 (b)
 25
        (3);
 26
 27
      2. For a declaration of the rights and liabilities of the parties and Class

 28
                                           7
                                      COMPLAINT
Case 5:17-cv-01724-PA-AFM Document 1 Filed 08/24/17 Page 8 of 9 Page ID #:8



  1     including a declaration that Defendant’s conduct was illegal;
  2
      3. For preliminary and permanent injunctive relief pursuant to 18 USC §
  3
  4     2724 (b) (4) restraining and enjoining Defendant from continuing the

  5     unlawful acts set forth above and requiring Defendant to take any acts
  6
        needed to prevent further violations, including destroying the personal
  7
  8     information obtained from motor vehicle records;
  9   4. For compensatory damages in the amount of not less than $2,500 per
 10
        violation;
 11
 12   5. For punitive damages in an amount to be determined;
 13   6. For interest on the sum of money awarded as damages;
 14
      7. For reasonable attorney's fees pursuant to 18 USC § 2724 (b) (3).
 15
 16   8. For costs of suit incurred herein; and
 17
      9. For such other and further relief as the court may deem proper.
 18
      DATED: August 24, 2017
 19
 20                    Respectfully submitted,
 21
 22
 23
 24
 25
 26
 27
 28
                                            8
                                        COMPLAINT
                Case 5:17-cv-01724-PA-AFM Document 1 Filed 08/24/17 Page 9 of 9 Page ID #:9


                                                                                                                NOW get
                     SATELLITE RADIO
                                                                                                                your first
                                                                                                                                                             with subscription.
                                                                                                                                                             See Offer Details
                                                                                                                                                             below.


                                                                                        000057

                     James Andrews
                     PO Box                                                                                                      Subscribe online at
                     Banning CA
                                                                                                                                 siriusxm.com/Go3
                     1111 11•111 11•11•••1•1111 1•11•1I11 •III• 111•11••II• 1111 1111111 •111 I
                                                                                                                              or call 1-877-646-0439
                                                                                                                             Your Radio ID: PH4
                                                                                                                             Account#: 4301
                                                                                                                             2012 Chevrolet Equinox



                                                                   We Want You Back!
       Dear James Andrews,

       There is so much to love on SiriusXM''', and I don't want you to miss out on any of it. So I'm extending a
       welcome-back offer to former listeners just like you.

       Just give us a call or go online and we'll have your radio turned back on in minutes. You'll enjoy over 140
       channels with our Select subscription package!

                   Come back and enjoy your first 6 months of the Select package for $30 -
                  that's $4.99 per month. Plus, we'll waive the $15 reactivation fee. See Offer Details below.
                                                                          (Current monthly rate is $75.99.)

                                                                      ~   Easy W~~to Subscribe Toda_y:
                                                                          • Go.- to siriusxm.com/Go3
                                                                                            OR
                                                                                 • Call 1·877-646-0439

       Subscribe and start listening again.

       Sincerely,


        ~~
       Kathy Thomson
       Chief Marketing Officer
       SiriusXM Radio

       P.S. Save time, subscribe online at siriusxm.com/Go3 - it's fast, easy and secure!
                                   If you've already contacted SiriusXM to subscribe, please disregard this letter.

      Offer Details: Activate a semi-annual Select subscription and pay $29.94 for your first 6 months. Fees and taxes apply. Service will automatically renew monthly
      thereafter (if on credit card) or every 6 months thereafter (if on invoice), and you will be charged according to your chosen payment method at then-current rates.
      To cancel you must call us at 1-866-635-2349. See our Customer Agreement for complete terms at www.siriusxm.com. All terms, fees and programming subject
      to change. This offer cannot be combined with any other. Offer good only on your currently inactive radio.

      © 2017 Sirius XM Radio Inc. Sirius, XM, SiriusXM and all related marks and logos are trademarks of Sirius XM Radio Inc. All rights reserved.


SXM-CAM-LH-POST33·499-6-16
                                                                                     EXHIBIT A                                             SXM.J'OSTJ3_US0_499       SXM.J'OST33_630_GEN-3
16-7659
